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HOPE SOLO
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
HOPE SOLO, Case No.: 3:18-cv-05215 JD
MOTION FOR ADMINISTRATIVE
Plaintiff, RELIEF
V.

UNITED STATES SOCCER FEDERATION,

Defendants.

 

 

Pursuant to United States District Court, Northern District of California, Civil Local
Rules (“Civil Local Rules”), Rule 7-11, plaintiff Hope Solo (“Solo”), by and through her
counsel of record, files this Motion for Administrative Relief (“Motion”) seeking an order from
this Court under Civil Local Rules, Rule 16-8 (d)(2) referring this case to the impendent
mediation in the action Alex Morgan et al v. United States Soccer Federation, Case No. 2:19-
cv-01717-RGK-AGR, which as the Court is aware is a case involving similar claims and issues
and which is currently pending in the United States District Court Central District of
California.
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INTRODUCTION AND FACTUAL BACKGROUND

On June 7, 2019, the Honorable Judge Donato issued an Order (Dkt. 49, “June 7, 2019
Order’) which, “[I]n light of the resolution of the JPML proceedings”, lifted the stay in this
proceeding and denied Defendants’ motion to transfer (Dkt. 25) on convenience grounds. The
parties were directed to “submit a joint proposed scheduling order and to confer on ways to
streamline discovery and other pretrial proceedings with respect to other cases that might raise
similar claims and issues” [Emphasis added.] (Dkt. 49). To date, Solo’s efforts to proceed in
an efficient and cooperative manner have been met with delay, silence, and in part, rejection.
Thus, Plaintiff is compelled to present this Motion to preserve and protect her rights.

DISCUSSION

I. Solo’s Claims For Equal Pay Will Be Compromised If Solo Is Excluded From
Participation In The Mediation To Advocate For The Goals Of Both Cases: Equal Pay.

During collective bargaining negotiations in or about 2004, 2012 and 2016, the USWNT
succumbed to the extreme pressure, intimidation, fear of job loss and spots on the Olympic and
World Cup teams, thrust upon them by the United States Soccer Federation (“USSF”), if the
USWNT Players refused to abandon their demands for Equal Pay. Each time the USWNT --
understandably— in exchange for a steady and unequal paycheck equivalent to compensation
that was up to 75% less than the compensation paid to the US Men’s National Soccer Team,
backed-down, kept their jobs, took the unequal compensation, and forfeited the prospects for
Equal Pay.

In August 2018, Solo filed her lawsuit against the USSF alleging violations of the Equal

Pay Act and Title VII. Eight months later in March 2019, adding a class allegation, the
USWNT followed Solo’s lead and courageously sued the USSF alleging identical claims.
However, incredulously, within two weeks of suing the USSF, the USWNT reached out to the
USSF seeking a meeting with the USSF President, to as described in USWNT’s Megan
Rapinoe’s public statements, “collaborate” and have a “conversation” about the lawsuit.
Predictably, the USWNT’s repeated requests to meet were rebuffed by the President of the

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USSF.

Finally, on or about June 215, during the World Cup tournament, the USWNT and the
USSF announced that they had agreed to engage in pretrial proceedings Mediation after the
conclusion of the World Cup competition. Thus, given the USWNT’s history, agreeing to
mediation is a clear indication that the Team is poised to, once again, accede to the USSF’s
intimidation and fear tactics, and “surrender” on their demands for equal pay.

Hope Solo understands and empathizes with the Players on the USWNT. Threats of job
loss are very real. To silence Solo and her persistent push for Equal Pay, the USSF fired Solo in
August 2016. The USSF had sent a message -- that if the Federation will fire the world’s best
goalkeeper in Hope Solo to thwart the USWNT’s push for Equal Pay, then every player is
vulnerable.

Importantly, Hope Solo is no longer encumbered by the USSF. Unlike her former
USWNT teammates, her livelihood is not in any way dependent on a relationship with the
USSF. Thus, Solo is free to persist and pursue their mutual Equal Pay objectives in the
Mediation without fear of USSF retribution or retaliation. Accordingly, Solo should be allowed
to fearlessly participate in the Mediation and or any settlement negotiations.

Accordingly, Plaintiff Solo, respectfully requests this Court to order the parties to
confer regarding any potential Mediation and compel the Defendant and related, similar case
party(s) in Morgan, et al. _v. USSF to include Plaintiff Solo as a participant in the pretrial
proceeding of Mediation. Ordering the parties in this litigation to confer regarding any
potential Mediation and compelling the parties to participate in the pretrial proceeding of
Mediation would promote judicial economy, avoid any undue prejudice and irreparable harm to
Plaintiff Solo, as well as permit the parties to fully comply with the Court’s June 7, 2019
Order.

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Il. To Avoid Any Undue Prejudice And Irreparable Harm To Plaintiff Solo As A

Result Of The Exclusion Of Solo’s Claims From Defendants’ Insurer “Reserve Amount”,
and or Insurer’s Mandated “Global Settlement” Of Related, Similar Claims, Defendant
Should Be Compelled to Confer With And Allow Solo To Participate In The Pretrial
Proceeding Mediation In The Related, Similar Case Morgan, et.al. v. United States Soccer
Federation.

As stated above herein, Defendant’s counsel has confirmed that there are ongoing
discussions regarding the scheduling of a pretrial Mediation in the related, similar case,
Morgan et al v USSF.

Defendant’s indemnifier (e.g. — Defendant’s insurance carrier) is bound by rights and
obligations to Defendant in relation to the “eight-corners” rule - defined as the duty to defend
Defendants based upon the four-corners of the pleadings as well as the four-corners of the
policy language. Defendant’s indemnifier also has the duty to indemnify Defendant, which is a
completely independent duty to Defendant.

Insurance policies have aggregate policy limits which determine the maximum amount
(“policy limit”) which the indemnifier is contractually obligated to pay on a covered claim or
claims. Within the policy limit, a “reserve amount” is the amount which an indemnifier has
allocated for settlement of a particular claim or claims.

Both the duty to defend and the duty to indemnify Defendant, as well as the “policy
limit” and the “reserve amount”, impact Plaintiff in that they are determinative of the amount
of funds available to settle or resolve a claim or claims. More specifically, insurance policies
are often “diminishing”, meaning that the costs of defense are deducted from the amount of the
policy limit or reserve amount allocated for settlement of a particular claim.

Plaintiff Solo’s claims and issues before this Court are the same or similar to the claims
and issues before the Court in Morgan et al v. USSF. Importantly, Solo was the first to file her

claims. Consequently, and in compliance with the Court’s June 7, 2019 Order, the parties in

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Solo v. USSF should confer on discovery and pretrial proceedings. Mediation is a pretrial
proceeding that often results in the streamlining of discovery issues common to both cases, as
well as the potential settlement of the claims mediated. Notably, Defendants’ insurer could
demand waivers, releases of claims, or a “global settlement” of all related and similar actions
and claims (e.g. Solo’s Claims) emanate from this Mediation, a pretrial proceeding in which at
this juncture, Plaintiff Solo is excluded.

Accordingly, given the (1) prospective depletion of the Defendant insurers “Reserve
Amount” (ii) possible waivers of rights, or invocation of a global settlement requirement, and
(iii) potential coordination of discovery issues and other procedural matters during the
mediation process, exclusion of Plaintiff Solo from a pretrial proceedings Mediation would
result in undue prejudice and irreparable harm to Plaintiff Solo.

Further, exclusion of Plaintiff Solo from the mediation will unduly prejudice and
irreparably harm Plaintiff Solo’s rights and ability to independently engage in meaningful
settlement negotiations with Defendant.

CONCLUSION
Based on the above, Plaintiff Solo requests that this Court issue an order
referring this case to the impendent mediation in the action Alex Morgan et al v. United States

Soccer Federation, Case No. 2:19-cv-01717-RGK-AGR, which as the Court is aware is a case

 

involving similar claims and issues and which is currently pending in the United States District

Court Central District of California.

Respectfully Submitted,

BY:
TIMOTHY W. PIN, ESQ.

Attorneys for Plaintiff
HOPE SOLO

DATED: July 22, 2019

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